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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS


 HOLGER FIALLO,                                            Case No. 1:22-cv-00660

                          Plaintiff,

        v.

 BRYAN A ANTHONYS DESIGN LLC,

                          Defendant.


                    NOTICE OF DISMISSAL PURSUANT TO RULE 41(a)(1)

       1.         Whereas Plaintiff Holger Fiallo filed the above-referenced case against Defendant

Bryan A Anthony’s Design LLC on February 7, 2022.

       2.         Whereas Defendant has not yet answered Plaintiff’s complaint, and thus dismissal

is appropriate without court order, pursuant to Federal Rule of Civil Procedure, Rule

41(a)(1)(A)(i).

       3.         Accordingly, pursuant to Federal Rule of Civil Procedure, Rule 41(a)(1)(A)(i),

Plaintiff hereby dismisses the complaint with prejudice.

       Dated: September 14, 2022                   Respectfully Submitted,

                                                   /s/ Benjamin Sweet
                                                   Benjamin J. Sweet
                                                   ben@nshmlaw.com
                                                   NYE, STIRLING, HALE, MILLER &
                                                   SWEET, LLP
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                                                   Attorneys for Plaintiff Holger Fiallo
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                                 CERTIFICATE OF SERVICE

       I, Benjamin J. Sweet, hereby certify that the foregoing document was filed through the

ECF system and will be sent electronically to the registered participants as identified on the Notice

of Electronic Filing (NEF) and paper copies will be sent to non-registered participants this 14th

day of September, 2022.


                                                                       /s/ Benjamin J. Sweet
                                                                         Benjamin J. Sweet




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